Citation Nr: 1829797	
Decision Date: 08/16/18    Archive Date: 08/30/18

DOCKET NO.  16-60 428	)	DATE
	)
	)

On appeal from the
Department of Veterans Affairs Regional Office in North Little Rock, Arkansas


THE ISSUES

1. Entitlement to service connection for an acquired psychiatric disability, claimed as anxiety.

2. Entitlement to service connection for a bilateral knee strain.

3. Entitlement to service connection for a left foot contusion.

4. Entitlement to service e connection for hearing loss.

5. Entitlement to nonservice-connected pension benefits based on countable income.

6. Entitlement to special monthly pension based on need for aid and attendance or housebound status.




REPRESENTATION

Appellant represented by:	Disabled American Veterans


ATTORNEY FOR THE BOARD

M. Pryce, Associate Counsel


INTRODUCTION

The Veteran served on active duty from March 1974 to January 1975.  The Veteran passed away in June 2018.

This matter comes before the Board of Veterans Appeals' (Board) on appeal from a May 2013 rating decision issued by the Department of Veterans Affairs (VA) Regional Office (RO) in North Little Rock, Arkansas.


FINDING OF FACT

On June 29, 2018, the Board was notified by the Department of Veterans Affairs (VA) Regional Office, North Little Rock, that the appellant died in June 2018.


CONCLUSION OF LAW

Due to the death of the appellant, the Board has no jurisdiction to adjudicate the merits of this appeal at this time.  38 U.S.C.A. § 7104(a); 38 C.F.R. § 20.1302. 





REASONS AND BASES FOR FINDING AND CONCLUSION

Unfortunately, the appellant died during the pendency of the appeal.  As a matter of law, appellants' claims do not survive their deaths.  Zevalkink v. Brown, 102 F.3d 1236, 1243-44 (Fed. Cir. 1996); Smith v. Brown, 10 Vet. App. 330, 333-34 (1997); Landicho v. Brown, 7 Vet. App. 42, 47 (1994).  This appeal on the merits has become moot by virtue of the death of the appellant and must be dismissed for lack of jurisdiction.  See 38 U.S.C.A. § 7104(a); 38 C.F.R. § 20.1302.

In reaching this determination, the Board intimates no opinion as to the merits of this appeal or to any derivative claim brought by a survivor of the Veteran.  38 C.F.R. § 20.1106. 

The Board's dismissal of this appeal does not affect the right of an eligible person to file a request to be substituted as the appellant for purposes of processing the claim to completion.  Such request must be filed not later than one year after the date of the appellant's death.  See 38 U.S.C.A. § 5121A; 38 C.F.R. § 3.1010(b).  A person eligible for substitution includes "a living person who would be eligible to receive accrued benefits due to the claimant under section 5121(a) of this title ...."  38 U.S.C.A. § 5121A; see 38 C.F.R. § 3.1010(a).  An eligible party seeking substitution in an appeal that has been dismissed by the Board due to the death of the claimant should file a request for substitution with the VA office from which the claim originated (listed on the first page of this decision).  38 C.F.R. § 3.1010(b). 


ORDER

The appeal is dismissed.




		
B. T. KNOPE
	Veterans Law Judge, Board of Veterans' Appeals

Department of Veterans Affairs


